  Case 1:15-cr-00214-RJJ         ECF No. 48, PageID.91           Filed 02/19/16    Page 1 of 1




                             UNITED STATES OF AMERICA
                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION



UNITED STATES OF AMERICA,           )
                                    )
      Plaintiff,                    )                 Case No. 1:15-cr-00214-RJJ
                                    )
v.                                  )                 Hon. Phillip J. Green
                                    )
CLAUDE RYAN, IV,                    )
                                    )
      Defendant.                    )
____________________________________)


                   ORDER OF BOND REVOCATION AND DETENTION

       The parties appeared before me on February 18, 2016, for a bond revocation hearing.

Defendant was represented by retained counsel, John J. Frawley. At the hearing, the court found

probable cause that defendant committed a criminal offense while on bond, specifically that he used

marijuana. Further, defendant is unlikely to abide by any condition or combination of conditions

of release. Accordingly:

       IT IS ORDERED that defendant’s bond is revoked pursuant to 18 U.S.C. § 3148, and

defendant is ordered detained pending further proceedings in this matter. Defendant is committed

to the custody of the Attorney General until further order of the court.


Date: February 19, 2016                                /s/ Phillip J. Green
                                                      PHILLIP J. GREEN
                                                      United States Magistrate Judge
